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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NOS. 2:05-00107-01
                                                          2:05-00107-02

GEORGE LECCO and
VALERI FRIEND


                        MEMORANDUM OPINION AND ORDER


             Pending are (1) defendant George Lecco’s motion

pursuant to Federal Rule of Criminal Procedure 14 to sever his

trial from that of co-defendant Valeri Friend, filed July 24,

2009, and (2) defendant Friend’s motion for guilt and/or penalty

proceedings and deliberations and verdicts separate from co-

defendant Lecco on retrial, filed the same date (referred to

jointly as “defendants’ severance motions”).



                                      I.



             On June 3, 2009, a grand jury returned a Twelve-Count,

Fourth Superseding Indictment alleging the following criminal

offenses:

      Count One: Charging Lecco and Friend in a conspiracy
      to distribute cocaine, in violation of 21 U.S.C. § 846.
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      Count Two: Charging Lecco with the possession of a
      firearm in furtherance of a drug trafficking crime, in
      violation of 18 U.S.C. § 924(c)(1)(A).

      Counts Three and Four: Charging Lecco as a felon in
      possession of a firearm, in violation of 18 U.S.C.
      922(g)(1) and 924(a)(2).

      Counts Five through Eight: Charging Lecco with
      distribution of cocaine, in violation of 21 U.S.C.
      § 841(a)(1).

      Count Nine: Charging Lecco and Friend murdered Carla
      Collins with a firearm during and in relation to a
      conspiracy to distribute cocaine, in violation of 18
      U.S.C. §§ 924(c)(1)(A), 924(j)(1), and 2.

      Count Ten: Charging Lecco and Friend with witness
      tampering by killing Collins, in violation of 18 U.S.C
      §§ 1512(a)(1)(C), 1512(a)(3)(A), and 2.

      Count Eleven: Charging Lecco and Friend with witness
      retaliation by killing Collins, in violation of 18
      U.S.C §§ 1513(a)(1)(B), 1513(a)(2)(A), and 2.

      Count Twelve: Charging Lecco and Friend with a
      conspiracy to destroy and conceal evidence in violation
      of 18 U.S.C. § 1512(k).


             The Fourth Superseding Indictment also contains a

Notice of Special Findings as to both defendants, reflecting the

United States’ intention to pursue a sentence of death as to

each.    Defendants now seek a severance order to avoid the

prejudice that they contend will result from a joint trial.                 They

seek the same relief in order to assure that they each are

assured of an individualized determination of the appropriate

penalty should the jury find either of them guilty of the capital

counts.

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                                      II.



A.    General Standards Governing Severance



             Federal Rule of Criminal Procedure 8(b) provides that

“defendants may be charged in the same indictment if they are

alleged to have participated in the same act or transaction or in

the same series of acts or transactions constituting an offense

or offenses.”        Fed. R. Crim. P. 8(b).      Our court of appeals has

observed that “[b]arring special circumstances, individuals

indicted together should be tried together.”              United States v.

Brugman, 655 F.2d 540, 542 (4th Cir. 1981).


             There is a presumption that co-defendants will be tried

jointly, and the presumption applies equally to conspiracy cases.

Zafiro v. United States, 506 U.S. 534, 537-38 (1993); United

States v. Najjar, 300 F.3d 466, 473 (4th Cir. 2002); United

States v. Akinkoye, 185 F.3d 192, 197 (4th Cir. 1999).                Indeed,

the court of appeals has observed the presumption is particularly

apropos in the conspiracy setting.           United States v. Parodi, 703

F.2d 768, 779 (4th Cir. 1983); United States v. Reavis, 48 F.3d

763, 767 (4th Cir. 1995)(stating “the well-established principle

that defendants who are charged in the same criminal conspiracy

should be tried together.”).


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             Rule 14(a), Federal Rules of Criminal Procedure,

however, permits severance “[i]f the joinder . . . appears to

prejudice a defendant . . . .”         Fed. R. Crim. Proc. 14(a).         In

making the severance determination generally, the focus is on

whether the failure to sever will result in the compromise of a

specific trial right of one of the defendants or prevent the jury

from making a reliable judgment concerning guilt or innocence.

Zafiro, 506 U.S. at 539; Najjar, 300 F.3d at 473.              The mere fact

that severance might result in a better chance of acquittal, or

that the evidence against one defendant is stronger or more

inflammatory than as to another, is an insufficient basis for

ordering separate trials.       See Najjar, 300 F.3d at 473; United

States v. Strickland, 245 F.3d 368, 384 (4th Cir. 2001); Reavis,

48 F.3d at 767; Akinkoye, 185 F.3d at 197.


             With respect in particular to antagonistic defenses,

our court of appeals has observed as follows:

           The presence of conflicting or antagonistic
      defenses alone does not require severance, however. We
      note that “[t]he mere presence of hostility among
      defendants . . . or a desire of one to exculpate
      himself by inculpating another [are] insufficient
      grounds to require separate trials.” The rule requires
      more than finger pointing. There must be such a stark
      contrast presented by the defenses that the jury is
      presented with the proposition that to believe the core
      of one defense it must disbelieve the core of the other
      . . . or “that the jury will unjustifiably infer that

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      this conflict alone demonstrates that both are guilty.”

Najjar, 300 F.3d at 474 (citations omitted) (emphasis added); see

also United States v. Smith, 44 F.3d 1259, 1266-67 (4th Cir.

1995) (“Because joint participants in a scheme often will point

the finger at each other to deflect guilt from themselves or will

attempt to lessen the importance of their role, a certain amount

of conflict among defendants is inherent in most multi-defendant

trials.’”) (quoted authority omitted); United States v. Ricks,

882 F.2d 885, 894 (4th Cir. 1989) (“The mere existence of

antagonistic defenses among defendants is insufficient to require

separate trials. Rather, a defendant must establish that the

asserted conflict is so prejudicial that he will be denied a fair

trial if tried jointly with his co-conspirators.”); United States

v. Spitler, 800 F.2d 1267, 1271-72 (4th Cir. 1986); United States

v. Ferguson, 778 F.2d 1017, 1020 (4th Cir. 1985) (noting “the

independent evidence of the guilt of both defendants was so

strong that any conflict in defenses cannot be said to have

resulted in their convictions.”); United States v. Becker, 585

F.2d 703, 707 (4th Cir. 1978); see also Zafiro v. United States,

506 U.S. 534, 538 (1993).




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B.    Analysis



             In considering the propriety of severance, the court

has taken account of, inter alia, the rights of the defendants,

society's interest in convicting only the guilty, society’s

interest in imposing the death sentence sparingly on an

individualized basis, and the efficient administration of

justice.     In contrast to the circumstances surrounding the denial

of defendants’ first requests for severance on January 29, 2007,

more specificity and additional argument is now offered

concerning the antagonistic nature of the defense cases and the

special impact presented by the capital nature of this

prosecution.


             Regarding the defendants’ rights, and contrasted with

the spotty and speculative assertions in their severance briefing

in 2006, the defense theories at a joint retrial will present the

jury with an essentially irreconcilable conflict.              The Friend

defense team will insist that co-defendant Lecco personally

killed Collins, without any involvement by Friend.              (Def.

Friend’s Reply at 1 (“Friend’s position is that Lecco shot and

beat the victim.”)).       Defendant Lecco will counter that Collins

was killed without his knowledge or participation.              (Def. Lecco’s


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Reply at 1 (noting that Lecco’s defense is “that he was not

present at all and did not direct Friend to commit the

killing.”)).     In this setting, each defense team will act as a

second prosecutor against the opposing co-defendant.               The choice

required between the two theories presents so sharp a contrast

that the jury, in crediting the core of one defense, must then

necessarily disbelieve the core of the other or, worse yet, cause

the jury to unjustifiably infer that the conflict alone should

result in both being found guilty.          See, e.g., United States v.

Allen, 491 F.3d 178, 189 (4th Cir. 2007).1


             Additionally, the gravity of the sentence sought

especially implicates the societal interest in convicting only

the guilty.     The dual-prosecutor quandary is a particular concern

in this regard.      In any capital proceeding, an accused convicted

of the crimes charged is next faced with offering the best


      1
      The United States asserts that “There was barely any
‘finger pointing’ during the [first] trial. Certainly there was
no ‘stark contrast’ between the two defenses.” (Resp. in Oppos.
to Friend Mot. at 7). The focus for present purposes, however,
is not the evidentiary record from the first trial but the
proffered defense theories for the retrial. (See Reply of Def.
Friend at 1 (“The government argues that the Court should again
deny a separate guilt and a separate penalty trial because the
defendants’ counsel at the first trial refrained, for the most
part, from attacking the co-defendant. The government misses the
point. Counsel for defendant Friend do not intend to make the
same mistake again by trying to cooperate with Lecco’s counsel. .
. Lecco’s new counsel apparently feel the same way.”)).

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possible case in mitigation so as to avoid the ultimate sanction.

One statutory mitigator is found in 18 U.S.C. § 3592(a)(3), which

entitles a defendant “punishable as a principal in the offense,

which was committed by another” to show that his or her

“participation was relatively minor, regardless of whether the

participation was so minor as to constitute a defense to the

charge.”      Id.


              In a joint trial, capital accuseds with diametrically

opposed defenses, as here, may not only attempt to minimize their

own role under section 3592(a)(3), but also present their

mitigation case implicitly, or by design, to redound to their co-

defendant’s detriment.       In such a scenario, a co-defendant, in

effect, locks arms with the prosecutor, stressing the aggravators

applicable against the adversary co-defendant, and may even

advocate other aggravators unencumbered by the notice procedures

found in 18 U.S.C. § 3593(a) that are applicable to the

prosecutor alone.2      Such an approach seems at odds with Congress’


      2
          Section 3593(a) provides as follows:

      (a) Notice by the government. -- If . . . the attorney
      for the government believes that the circumstances of
      the offense are such that a sentence of death is
      justified under this chapter, the attorney shall, a
      reasonable time before the trial or before acceptance
      by the court of a plea of guilty, sign and file with
      the court, and serve on the defendant, a notice--
                                                    (continued...)

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reticulate effort, through the Federal Death Penalty Act

(“”FDPA”), to assure the fairest, most orderly, and comprehensive

presentations by the prosecution and defense to aid the capital

jury in discharging its most solemn of duties.


              In assuring that only those most deserving of a capital

sentence actually receive it, society benefits from allowing a

defendant to make the best case in mitigation possible to a fact

finder who has under consideration that defendant alone.3                This

one-on-one adversarial approach more faithfully implements the

apparent intention of the FDPA, and the jurisprudence of the

Supreme Court, that a capital defendant receive from the jury an


      2
          (...continued)
              (1) stating that the government believes that
              the circumstances of the offense are such
              that, if the defendant is convicted, a
              sentence of death is justified under this
              chapter and that the government will seek the
              sentence of death; and

              (2) setting forth the aggravating factor or
              factors that the government, if the defendant
              is convicted, proposes to prove as justifying
              a sentence of death.

Id.
      3
      The court has considered the possibility of empaneling
separate sentencing hearing juries. Little is gained by that
approach, however, inasmuch as both sets of fact finders would
have to be apprised of the evidence from the guilt phase in order
to discharge their duties concerning the appropriate sentence to
be imposed.

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 individualized decision concerning the propriety of the ultimate

 sanction.4    See, e.g., Penry v. Lynaugh, 492 U.S. 302, 317 (1989)

 (“Our decisions . . . have reaffirmed that the Eighth Amendment

 mandates an individualized assessment of the appropriateness of

 the death penalty.”); Zant v. Stephens, 462 U.S. 862, 879 (1983)

 (“What is important at the selection stage is an individualized

 determination on the basis of the character of the individual and

 the circumstances of the crime.”); Eddings v. Oklahoma, 455 U.S.

 104, 112 (1982) (“[T]he fundamental respect for humanity

 underlying the Eighth Amendment . . . requires consideration of

 the character and record of the individual offender and the

 circumstances of the particular offense as a constitutionally

 indispensable part of the process of inflicting the penalty of

 death.”) (citing Woodson v. North Carolina, 428 U.S. 280, 303-04

 (1976)); Romano v. Oklahoma, 512 U.S. 1, 6 (1994) (“States must

 ensure that sentencing decisions rest on [an] individualized

 inquiry under which the character and record of the individual

 offender and the circumstances of the particular offense are




       4
       At the same time, the court does not suggest that joint
 capital sentencing hearings are per se, or even prima facie,
 unconstitutional. See United States v. Tipton, 90 F.3d 861, 892-
 93 (4th Cir. 1996).

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 considered.”) (citations and internal quotation marks omitted).5


             Regarding the efficient administration of justice, the

 court observed as follows in its January 29, 2007, memorandum



       5
       In this same vein, defendant Lecco offers the following,
 which expresses a concern of some plausibility when considered
 from his viewpoint:

       Friend is alleged to have made particularly cruel
       statements during a protracted murder that involved the
       use of a firearm and various other alleged instruments.
       See Trans[.] at 533 . . . (testimony of Pat Burton
       regarding Defendant Friend hitting Collins’ in the head
       with a rock). The government's theory with respect to
       . . . Lecco . . . is that he . . . requested and
       provided consideration for Collins’ murder. Although .
       . . Lecco is accused of serious crimes, the evidence .
       . . against . . . Friend . . . rises to a level of
       moral depravity far above anything for which . . .
       Lecco [is] accused. Statements . . . attributable to .
       . . Friend, such as “Jesus didn’t know you last night
       and he sure in the f[--]k don’t know you today . . .”
       and, in response to Collins’ pleas for mercy because
       she had children, “You never raised your kids . . .”
       will have a substantial negative impact on her case for
       life. See [id.] at 529-30 (the testimony of Pat Burton
       regarding Defendant Friend’s statements during Collins’
       death). . . . [A] jury will have a difficult time
       separating their opinions regarding . . . Friend’s
       sentence and that of . . . Lecco, especially
       considering the overwhelming evidence of the
       heinousness of . . . Friend’s alleged actions. However,
       . . . these statements and much of the testimony
       regarding the events surrounding Collins’ death would
       likely not even be admissible at a sole trial . . . for
       . . . Lecco, as they were not made by him and much of
       the testimony regarding Collins’ death does not involve
       him.

 (Def. Lecco’s Mot. to Sever at 12-13) (citations omitted).

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 opinion and order denying severance:

       [T]here appear to be conflicting witness accounts
       concerning who is properly chargeable with the death of
       Carla Collins. A unitary trial, where one jury renders
       its verdict after reviewing all of the conflicting
       accounts, is thus of singular importance.

 United States v. Lecco, No. 2:07-107-01 & -02, slip op. at 31

 (S.D. W. Va. Jan. 29, 2007).        The same consideration applies

 presently.     Balanced against this observation, however, is our

 court of appeals’ equally weighty recognition of the possibility

 that a properly instructed jury may nevertheless impermissibly

 infer that irreconcilable defenses lead to the conclusion that

 both defendants are guilty.         See, e.g., Allen, 491 F.3d at 188.

 In a case such as this, now involving the most antagonistic

 theories of defense, an improper verdict is a genuine concern.


             The court does not minimize the fact that a severance

 order will burden the United States and the public fisc with two

 trials that will result in two juries and the multiple

 appearances of many witnesses and the victim’s family.               An

 additional consideration presented in 2007, namely, that the last

 tried defendant would benefit from knowing the manner of the

 presentation of the prosecution case beforehand, is essentially

 no longer an issue inasmuch as the cases are in a retrial

 posture.    Balancing the entirety of the foregoing factors


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 together, the court concludes that (1) the proper consideration

 of the now sharply antagonistic defenses, and (2) the necessity

 of an individualized sentencing determination, can only be

 accommodated by separate trials.6          In sum, if tried jointly,

 defendants would be denied a fair trial and sentencing hearing.



                                     III.



             Based upon the foregoing, the court ORDERS that

 defendants’ severance motions be, and they hereby are, granted.

 It is further ORDERED that the trial of defendant Friend will

 proceed on the presently scheduled date, with the trial as to

 defendant Lecco proceeding later on a date to be determined.



       6
       The foregoing analysis obviates the need to reach any
 additional arguments defendants offer in favor of severance. For
 example, defendant Friend contends that the following outburst by
 defendant Lecco in the presence of the jury during the penalty
 phase prejudiced her and that severance would prevent a
 recurrence:

       THE DEFENDANT LECCO:      Your Honor --

       [COUNSEL FOR DEFENDANT LECCO]:         Sit down.

       THE DEFENDANT LECCO: Your Honor, I was denied the
       right to testify in my own behalf and many other
       things, and I would . . . .

 (Trans. at 2548-49). The court immediately ordered a recess but
 defendant Lecco’s spontaneous comments prompted one juror to
 query the Court Security Officer as follows: “‘Is that normal?’”
 (Id. at 2564).

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             The Clerk is directed to forward copies of this written

 opinion and order to the defendants and all counsel of record.


                                            DATED:    September 3, 2009



                                            John T. Copenhaver, Jr.
                                            United States District Judge




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